     Case 1:04-cv-00798-PLF-GMH Document 1200 Filed 08/02/19 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
             v.                       )             Case No. 1:04-cv-00798-PLF-GMH
                                      )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey        )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.       )
                                      )
                   Defendants In Rem )



                        NOTICE OF WITHDRAWAL OF COUNSEL

        Please take notice that, pursuant to LCvR 83.6(b), Rebecca A. Caruso hereby withdraws

as counsel of record for the United States in the above-captioned case. Ms. Caruso no longer needs

notice of filings in this matter, and the Clerk is requested to remove Ms. Caruso’s name from all

CM/ECF service lists for this case. Daniel H. Claman, Teresa C. Turner-Jones, and Adam J.

Schwartz will remain as counsel for the United States.



Dated: August 2, 2019                        Respectfully submitted,


                                             /s/ Rebecca A. Caruso
                                             Rebecca A. Caruso
                                             Trial Attorney
                                             Money Laundering and
                                             Asset Recovery Section
                                             Criminal Division
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